Case 2:10-cv-01823-JLR Document 173-3 Filed 02/03/12 Page 1 of 25

If the reference picture is of a field interpolation mode, the index [] of the matrices
mentioned above takes only select_mv_forward. If the reference picture is of a frame
interpolation mode, the index [] of the matrices mentioned above takes both
select_mv_forward and !select_mv_forward.

A positive value for a reconstructed horizontal motion vector (right_for[]) indicates that
the referenced area of the past picture is to the right of the macroblock in the coded
picture.

A positive value for a reconstructed vertical motion vector (down_for[]) indicates that the
referenced area of the past picture is below the macroblock in the coded picture.

Defining pel_past[][][] as the pels of the past picture referenced by the forward motion
vector, and pel[][}[] as the pels of one field of the picture being decoded, then:

if (! right_half_for{] && ! down_half_forf] )
pel{]fa)[j] = pel_past()[i+down_for] (j+right_for] ;

if (! right_half_forf] && down_half_for{] )
pel{)[i]lj} = ( pel_pastf][i+down_for][j+right_for] +
pel_past{](i+down_for+1]{j+right_for] ) // 2

pel(]{i fj] = ( pel_past{][itdown_for][j+right_for] +
pel_past{][i+down_for][j+right_for+1] ) //2

if( right_half_for[] && down_half_for[} )
pel{)fiJfj} =¢ pel_past[][i+down_for][j+right_for} +
pel_past[][itdown_for+1][j4ri ght_for] +
pel_past{][i+down_for][jtright_for+1] +
pel_past[][i+down_for+1]{j+right_for+1] ) // 4:

If the reference picture is of a field interpolation mode, the first ind.

PRSLALN,

pel{]U[] take only select_mv_forward. If the reference picture is frame interpolati
s

wees

mode, the first index of pel_past(][]{] and pel[](}[] takes bot
'select_mv_forward.

Define pel_new/[][] as the pels of the picture being decoded. th

Clure ng a nen:

if ( field_or_frame_forward ==0 )

pel_newfil{j] = pel{select_mv_forward][i][j] :

else
pel_new[i]{j] = ( pel{select_mv_forward][i][j] +
pel{!select_mv_forward][iJ[j] ) 2;

for (m=0; m<8; m++ ) {
44

MS-MOTO_752_0001230336
MS-MOTO_1823_00000720856
Case 2:10-cv-01823-JLR Document 173-3 Filed 02/03/12 Page 2 of 25

for (n=0; n<8; n++ ) {
i= scanf][m][n] ;
det_recon{m][n] = (2 * det_zz[i] * (16 + quantizer_scale
* non_intra_quant[mlfn] })}/ 16;
if ((det_recon[m][n] & 1) ==0)
dct_recon{m][n] = dct_recon{m][n] - Sign(dct_recon{m]{n])

if (dct_recon[m][n] > 2047) det_recon[m][{n] = 2047 ;
if (dct_recon[m][n] <-2048) dct_recon[m][n] = -2048 ;
if ( det_zz[i] == 0 )

dct_recon[m]{n] =

}
}
If the reconstructed block is a luminance block, then the first index of scan[][1f] shall be
2. If the reconstructed block is a chrominance block, then the first index of sc an(in

shall be 3.

ms

NOTE - det_recon[m]{n] = 0 (for all m, n) in skipped macroblocks and when pattern[i]

Once the dct coefficients are reconstructed, the inverse DCT transform is applied to obtain
the inverse transformed pel values in the interval [-256, 255]. The inverse DCT pel

values are added to the pel _newf[i]fi] which were computed above using the motion ©

vectors, with the result of the addition being limited to the interval [0,255]. Th location
of the pels is determined from mb_row, mb_column and the pattern_code list.

3.3.3. Predictive-coded macroblocks in P2- and B-pictures

The predictive-coded macroblocks in P2- and B-Pictures are decoded in four s
First, the value of a forward motion vector for a macroblock is reconstructed from the

‘ retrieved forward motion vector information, and the forward motion vector reconstructed
or the previous macroblock. However, for P2- and B-coded pictu res. t

TY ww oe
fOr the Drevious @ALTODIOCK. FiO Cr, TO! o-CUaed tures, te Previvus
th

reconstructed motion vectors are reset only for the first macroblock i in a slice and when

the last decoded macroblock was an intra-coded macroblock. If no forward motion vector
data exists for the current macroblock, the motion vectors are obtained by

Second, the value of the backw
from the retrieved backward motion vector information

d m a
reconstructed for the previous macroblock using the same procedure as s for calculating the

forward motion vector in P2- and B-pictures. In the case of P2- -picture decoding, the
forward motion vector is used for the far picture, and the backward motion vector is used

fa acu: ween ey SRP Ne Seek RN I Ce A VW AD
for the near picture.

45

MS-MOTO_752_0001230337
MS-MOTO_1823_00000720857
Case 2:10-cv-01823-JLR Document 173-3 Filed 02/03/12 Page 3 of 25

The following variables result from applying the algorithm in clause 3.3.2, modified as
described in the previous two paragraphs:

right_for[], right_half_for[], down_for[], down_half_for[]
right_back{], right_half_back[], down_back[], down_half_back[{]

which define the integral and half pel value of the rightward and downward components
of the forward motion vector (which references the far picture in P2-picture and the past
picture in B-picture) and the backward motion vector (which references the near picture in
P2-picture and the future picture in B-picture).

Third, the pels of the decoded picture are calculated. If only forward motion vector
information was retrieved for the macroblock, then pel_new[][] of the decoded picture is
calculated according to the formulas in the predictive-coded macroblock section. If only
backward motion vector information was retrieved for the macroblock, then pel_new[]]
of the decoded picture is calculated according to the formulas in the predictive-coded
macroblock section, with “back” replacing "for", and "pel_future[][]{Q" replacing
“pel_past{J(J[J". If both forward and backward motion vectors information are retrieved,
then let pel_new_for{][] be the value calculated from the past picture by using the
reconstructed forward motion vector, and let pel_new_back[][] be the value calculated
from the future picture by using the reconstructed backward motion vector. Then the
value of pel_new/[][] is calculated by:

pel_new{][] = ( pel_new_for[]{] + pel_new_back[]{] ) /2;

Fourth, the DCT coefficients for each block present in the macroblock are reconstructed
by:

for (m=0; m<8; m++ ) {
for (n=0; n<8; n++) {
i= scan{}[m][n] ;
det_recon[m]{n] = ( 2 * det_zz{i] * ( 16 + quantizer_scale
* non_intra_quant[m][n] })/16;
if ((dct_recon[m][n] & 1) ==0)
det_recon[m]{n] = det_recon[m]{n] - Sign(dct_recon[m][n])

if (det_recon[m][n] > 2047) det _recon[m][n] = 2047 ;
if (det_recon{m][n] < -2048) det _recon(m){n] = -2048 ;
if (det_zz[i] ==0)

dct_recon[m][n] =

}
}
If the reconstructed block is a luminance block, then the first index of scan[][Jf] shalt be
2. If the reconstructed block is a chrominance block, then the first index of scanQ 00
shall be 3.
NOTE - det_recon[m][n] = 0 (for all m, n) in skipped macroblocks and when ttern[i]

46

MS-MOTO_752_0001230338
MS-MOTO_1823_00000720858
Case 2:10-cv-01823-JLR Document 173-3 Filed 02/03/12 Page 4 of 25

Once the det coefficients are reconstructed, the inverse DCT transform is applied to obtain
the inverse transformed pel values in the range [-256, 255]. The inverse DCT pel values
are added to pel_new[]f], which were computed above from the motion vectors, with the
result of the addition being limited to the interval [0,255]. The location of the pels is
determined from mb_row, mb_column and the pattern_code list.

3.3.4 Skipped macroblocks

Some macroblocks are not stored, i.e. neither motion vector information nor DCT
information is available to the decoder. These macroblocks occur when the
macroblock_address_increment is greater than 1. The macroblocks for which no data is
stored are called "skipped macroblocks”.

In I-pictures, all macroblocks are coded and there are no skipped macroblocks.

In PO- and Pl-pictures, the skipped macroblock is defined to be a macroblock with a ~
reconstructed motion vector equal to zero and no DCT coefficients.

In P2- and B-pictures, the skipped macroblock is defined to have the same
macroblock_type (forward, backward, or both motion vectors) as the prior macroblock,
differential motion vectors ( motion_horizontal/vertical_forward/backward ) equal to zero,
the same interpolation mode and differential motion vector(s), and no DCT coefficients.
In P2- and B-pictures, a skipped macroblock shall not follow an intra-coded macroblock.

47

MS-MOTO_752_0001230339
MS-MOTO_1823_00000720859
Case 2:10-cv-01823-JLR Document 173-3 Filed 02/03/12 Page 5 of 25

4. Status of the proposed algorithm

4.1. Compatibility

This algorithm cannot afford to give backward compatibility to MPEG1 and
H.261. As for forward compatibility, it can give compatible codec in the form of a
switchable encoder / decoder. Most part of the encoder / decoder for the two standards
can be commonly used, and only the predictor, VLC tables, and coding controller are to

:
trhed
be switched.

4.2 Random access

Aaract an setae fT tae
he nearest entry point ( = i-picture

) the field to be acce n Z ally inserted entry points. In this
proposal, 1 GOP is constructed from 24 fields. 4 fields of I or P-pictures are necessary
to decode B-picture in some cases. So, the longest path for random accessing is the
access to the set of B2 and B3-picture located just before the entry point in input order

and the accessing path is shown below.
7

(1) > (P0) > (BO) > (B1) (82) > 3) > (Pl) > @2) 5 (BO) > (B81) 5 @)
iN foo
> (B3) > Pl) > 2) > (BO) > B1) 3 (2) > (83) 3 LY 5 KY, aay 5

(B1) + (B2) > (B3) 3 @ > 0), (B0)  (B1) > B2*  B3*

( O denotes the field used for predictin g the attended B2* and B
and ( ) denotes a discarded field not used for prediction )

In this case, it is necessary to read out the amount of data corresponding to
GOP +1+P0+B0+Bl+B2+B3. In this proposal, the amount of data is limited

60 x 1.5 + alpha = 0.6 sec.

Actually, there can be some fluctuation in the data amount for rate control for each
GOP and the maximum delay becomes slightly more. The maximum value of the control
fluctuation observed from actual simulations using 8 sequences was 0.62 sec.

4.3 Fast forward / fast reverse

Rate control is executed in this Proposal so that the amount of generated
information for a set of I-picture + P0-picture, which is used for fast forward and fast

reverse playing, don't exceed 50 % of the target amount of data allocated to 1 GOP.

10 means that a one ana

This means that a set of I and PO-picture can be read out within 0.2 sec when working in
a fast playing mode. For example, 6 times multiple speed playing mode is realized by

decoding a set of I and P0-picture and skipping two sets every 0.2 sec shown below (

each number denotes the continuous picture number ).

normal play 0123456789 101112131415 16171819 20...
6 times fast 0101010101 0 172737273 7273727372...

So, delay time for fast forward and fast reverse playing is 0.2 sec.

MS-MOTO_752_0001230340
MS-MOTO_1823_00000720860
Case 2:10-cv-01823-JLR Document 173-3 Filed 02/03/12 Page 6 of 25

4.4 Coding / decoding delay

Coding / decoding delay is derived mainly from the delay caused by reordering the
coding / decoding order owing to bi-directional prediction and the delay caused by the
input / output buffer. The delay in format transformation at input/output, calculation at

uv

the filters or DCT is ignorabily small compared to these two.

First, the delay by reordering is investigated below. The input order of the
fields at the encoder, the coded order of the fields at the encoder = the output order of the
fields at the encoder = the input order of the fields at the decoder, the output order of the
fields at the decoder is shown in Fig. 4-1. | As shown in the figure, this delay

corresponds to 6 fields at the decoder for the I and P-pictures and 6 fields at the encoder
for the B-picture at the shortest even under the condition that the data of each field
continues without any interval to make the delay short. ( Note that this delay becomes 4
fields at the encoder and 2 fields at the decoder for I and P0-picture at the start of the
sequence. Even in this case, the sum of the delay is the same.) Adding to this, still
one field delay is necessary to read the activity of the I-picture before coding. The
conclusion is that the coding / decoding delay for each picture corresponds to 7 fields,
ie. 7 /60=0.117 sec.

Iput
toencoder [I PO BO BIB2 B3P1 P2BOBLBZB3P1P2 -~ B31 PO BO

A A MN]! ~ALMLNN ~
Coding I POP1 P2B0 Bi B2B3 P1P2 BO ---B3 I PO BO B1B2B3
order YX ‘NS .
Output Bae Nw vot v v a
from decoder I PO BO B1B2B3 Pi P2 BO pR3 py p2 no B1 Re B3 Y Po

Fig, 4-1 Delay caused by reordering at

encoder and decoder

Sete. abla LOOT

Next, the delay caused by the bufferis investigated. Suppose the receiving data
buffer of the decoder is modeled by a fixed rate input and instantaneous output of data
when data are needed to be decoded, and the output data buffer is modeled by an
instantaneous input when data are generated and at a fixed output rate. When rate
control is executed so as not to make any overflow and underflow at the transmitting
buffer, it is also warranted that the receiving buffer never overflows or underflows by
preparing a buffer of the same capacity at the receiver. In this case, the total delay at the
transmitting buffer and the receiving buffer is the capacity of the transmitting buffer (=
the capacity of receiving buffer ) divided by the output rate.

In this proposal, the amount of transmitting buffer and teceiving buffer is
determined to be 221 (= 2M) bits at9 Mbps. (As ford Mbps, 2!1 x 4/9 Mbits are used
for buffer ). So, the delay by the buffer is = 0.233 sec.

Considering the above two main factors, the coding / decoding delay by this
proposal is estimated to be about 350 msec.

MS-MOTO_752_0001230341
MS-MOTO_1823_00000720861
Case 2:10-cv-01823-JLR Document 173-3 Filed 02/03/12

Picture/data buffer Number Size(bits)
Picture buffer for Y 15 20736000 (720240x8x1 5)
Picture buffer for C 9 12441600 (720x240x8x9)
Output data buffer 1 2097152 (2!)

2) Decoder
Picture/data buffer Number Size(bits)
Receiving data buffer 1 2097152 (221)
Picture buffer for Y 4 5529600 (720x240x8x4)
Picture buffer for C 4 5529600 (720x240x8x4)

Page 7 of 25

1) Input field memory
Memory Size(words) Width(bits) On/Off chip
Input picture memory(Y 10 fields) 1728000 8 Oft
Input picture memory(C 4 fields) 691200 8 Off
Picture delay memory(Y,C 1 field) 345600 8 Off
Block line memory(Y,C) 46080 8 On

Figure 5-1 shows a block diagram for the input field memory. For both Y and C
signals, BO, Bl, B2 and B3 pictures are stored in the input picture, memories for

changing the order of pictures. For the Y signal, I
in the input picture memories. Stored pictures for the Y

ano

oc ace alon ctmre

» Po, Pl and rz pictures are also stored
’ signal are used for ihe first stage

motion vector search in the motion vector estimator 1. Y and C signals are multiplexed
after scan format conversion by the block line memories. Then, they are delayed by one

field for intra activity calculation.

2) Motion vector estimator 1

50

MS-MOTO_752_0001230342

MS-MOTO_1823_00000720862
Case 2:10-cv-01823-JLR Document 173-3 Filed 02/03/12 Page 8 of 25

Memory Size(words) Width(bits) On/Off chip
Motion vector memory 16200 7+6 On
Search data register in MVD1 8096 8 On
Distortion register in MVD1 1860 15 On
Register in acc. dist.calc. MVD1 1860 15 On
Addition Width(bits) | Operations/sec
Subtraction in dist.calc. MYD1 8 16070400000
Addition in acc. dist.calc. MVD1 15 16070400000
Vector addition in MYD 7 540000

Figure 5-2 shows a block diagram for the motton vector estimator 1.

In this module, motion vectors for the first stage are calculated by the so called
telescopic search, using the pictures before coding stored in the input field memory.

For each step in the telescopic search, four motion vector detectors (MVD 1a..d)
calculate intermediate motion vectors between two pictures, whose separation distance is
one field or two, as follows. At first, search data are stored in the search data registers in
the MVD1, by reading data in the input field memory addressed by the start motion
vector, which has been stored in the motion vector (MV) memory at the previous search

stage, Then, 31x15 distortion calculators derive the distortion values for all offset vector

OCs Sahaly GaN ae Vestas VA Use SS ye Os VRS 8 Gee UU VOL

candidates in parallel. Finally, the motion vector is updated by adding the start motion
vector and offset vector determined in the distortion comparator, and stored in the MV
as an origin and t
motion vector detection, in each step for each MVD, are illustrated i in 1 Table 5-1, The same
pictures must be stored in two different field memories, occasionally, because data in the

reame ninthira a Aiffaranr addro t he wand he; Aiffa ehAX
Same picture nm @ Girrerent agaress must de Tread oy airferent M\ YDs.

3) Motion vector estimator 2 with adaptive predictor

Memory Size(words) Width(bits) On/Off chip
Search data register in MVD21 3840 8 On
Distortion register in MVD21 36 15 On
Register in acc. dist.calc.1 MVD21 36 15 On
Search data register in MVD22 11928 8 On
Distortion register in MVD22 72 15 On
Register in acc. dist.calc.2 MVD22 72 15 On
Temporary data register 6664 8 On
Macroblock delay 1024 8 On
Addition Width(bits) | Operations/sec
Subtraction in dist.calc.1 MVD21 8 373248000

51

MS-MOTO_752_0001230343
MS-MOTO_1823_00000720863
Case 2:10-cv-01823-JLR Document 173-3 Filed 02/03/12 Page 9 of 25

Addition in acc. dist.cale.1 MVD21 15 373248000
Vector addition in MVD21 7 648000
Addition in field interpolation filter 8 440316000
Subtraction in dist.cale.2 MYD22 8 746496000
Addition in acc. dist.cale.2 MVD22 15 746496000
Subtraction for r2 in MVD22 8 41472000
Addition for frame interpolation mode signal 8 41472000
Addition for bi-directional prediction signal 8 20736000
Subtraction in dist.cale.3 8 20736000
Addition in acc. dist.calc.3 15 20736000
Figure 5-5 shows a block diagram for motion vector estimator 2 with the adaptive
predictor.

In this module, an adaptive inter field / inter frame prediction signal is generated

from the decoded pictures, by the second stage motion vector estimation, as follows.
At first, for each decoded picture, motion vector detector 21(MVD21) refines the
first stage motion vector, by searchin for the decoded picture around a point within the

m

tn on

1

half-pixel for t “sere in Section 2
Search fo or the f fie d interpolati ation mode is implemented, t using th e field interpolated
picture, generated by the field interpolation filter. For the frame interpolation mode,
is accomplished using both the field interpolated picture, and the picture of the

ha
i i
other field, pointed out by the refined motion vector detected by the MVD21.

ee Ne ee

: of
half- * nm

£ $s
a TAMie Siero

hird, distortion comparator 1 selects the optimum interpolation, and the optimum
prediction signal for forward or backward direction is generated.
a f;

, forward, backward and internnlatir ye nredicton si igna § are Compar

VUGL AL CLids AEB PUA pate uieue oe ee

+

5) Subtacter for prediction error signal

AME

Addition Width(bits) | Operations/sec
Subtraction for prediction error signal 8 20736000
6) Activity calculator

Memory Size(words) Width(bits) On/Off chip

Block delay 64 8 On

Slice activity register 150 22 On

Addition Width(bits) Operations/sec
Addition in block DC calculator 14 864000
DC Subtraction 8 864000
Addition in slice activity calculator 22 20736000
Addition in picture activity calculator 27 1800

52

MS-MOTO_752_0001230344
MS-MOTO_1823_00000720864
Case 2:10-cv-01823-JLR Document 173-3 Filed 02/03/12 Page 10 of 25
Figure 5-10 shows a block diagram for the activity calculator. For I pictures,

om

oefficients of the result of DCT are used. The:
slice and for one picture are calculated by the slice and picture activity accumulators.

Cc

absolute values for the A

On/Off chip

Size(words) Width(bits)

Memory

20736000

82944000
Lookup/sec

165888000
Operations/sec

16
16
Dwn

1 transform with a coefficient

Fix/Dwn

16
16

Width(bits)

64

128
imensiona

’

Widthdbits)

53

256

Figure 5-11 shows the DCT block diagram. In this DCT module, a fast calculating
Size(words)

Multiplication in 8-point processor

Scan conversion RAM
Addition in 8-point processor

Matrix transposition
Multiplication

table, two 8 word buffers, matrix transposition RAMs and scan conversion RAMs with a
Table

two multiplying stages. Addition or multiplication is carried out at pixel rate according to

the signal flow graph shown in Fig. 5-13.

It consists of two 8-point processors for one-di

MS-MOTO_752_0001230345

MS-MOTO_1823_00000720865
Case 2:10-cv-01823-JLR Document 173-3 Filed 02/03/12 Page 11 of 25

Figure 5-14 shows the quantizer block diagram. The inverse values for
quantization steps are stored in the quantize"! table. Quantization is implemented by
multiplying the selected value in this table, to the absolute value for the DCT coefficient.

9) Dequantizer

Addition Width(bits) Operations/sec

Offset addition 12 20736000

Muluplication Width(bits) | Operations/sec

Q scale muleplicaton 5x8 20736000

DCT coeff multiplication 8x12 20736000

Table Size(words) Width(bits) Fix/Dwn Lookup/sec

Quantize table 128 8 Dwn 20736000

Figure 5-15 shows the dequantizer block diagram. The selected value in the
meramesen tnhle and tha nya atiean cpale ase esvlemliad The nnanheatan oten sige te Ancien
Qualitice laVIe anu It Yua JLILH Oa aiu SUCUELU Pri, LHe Wuailcauy L owyp o120 ls GUCLIVOU
he adding the nffeatr vale and the maultinlien value Mennantieatinn to rarmel naith
uy aU & LG ULESUL Valu alill Lit AEUAUIPLIe Yaluu. Ls qua AUIZALIVE ds & s0Ul UUL vy
. ep si . .

s
multiplying the quantization ste

10) IDCT

Memory Size(words) Width(bits) On/Off chip
Register in 8-point processor 80 16 On
Matrix transposition RAM 64 16 On

Scan conversion RAM 128 16 On
Addition Width(bits} Operations/sec
Addition in 8-point processor 16 165888000
Multiplication Width(bits) | Operations/sec
Multiplication in 8-point processor 16 82944000

Table Size(words) Width(bits) Fix/Dwn Lookup/sec
Scan table 256 6 Dwn 20736000
Coef table 4 16+16 Fix 20736000

54

MS-MOTO_752_0001230346
MS-MOTO_1823_00000720866
Case 2:10-cv-01823-JLR Document 173-3 Filed 02/03/12 Page 12 of 25

Figure 5-16 shows the IDCT block diagram. The operation for each stage in 8-
point processors is depicted in Fig. 5-18.
11) Adder for iocai decoded signa!
Addition Width(bits) | Operations/sec
Addition for local decoded signal 3 20736000
12) Local decoded field memory
Memory Size(words) Width(bits) On/Off chip
Decoded picture memory(Y,C 4 field) 1382400 8 Off
13) Encoder output stage (VLC, MUX and output data buffer)
Memory Size(words) Width(bits) On/Off chip
Output data buffer 65536 32 Off
Addition Width(bits) | Operations/sec
Subtraction in macroblock addr. DPCM encoder 6 81000(max)
Subtraction in motion vector DPCM encoder 8 648000(max)
Subtraction in block DC DPCM encoder 9 324000(max)
Table Size(words) Width(bits) Fix/Dwn Lookup/sec
VLC table for M.B._address 64 12 Dwn 81000(max)
VLC table for M.B._type 64 7 Dwn 81000(max)
VLC table for C._B._P 16 9 Dwn 81000(max)
VLC table for motion vector 16 11 Dwn 648000(max)
VLC table for det_de_size 32 9 Dwn 324000(max)
VLC table for dct_coef 8192 17 Dwn 20736000(max)

Figure 5-19 shows a block diagram for the encoder output stage. Data in the
sequence/GOP/picture/slice layer are generated by the header generator. Data in the
macroblock layer are generated by the macroblock data generator, which contains the
macroblock address DPCM encoder, motion vector DPCM encoder and VLC Table I,
using the motion vector data from motion vector estimator 2. Data in the block layer are
generated by the block data generator, which contains the block DC DPCM encoder, the
zero run counter and VLC Table 2, using the quantized DCT coefficient value from the
quantizer. Data in each layer are multiplexed under the sequencer control, and are stored
in the output data buffer. The rate controller determines the Q_scale value, using the
activity data and the status for the output data buffer.

WN
WN

MS-MOTO_752_0001230347
MS-MOTO_1823_00000720867
Case 2:10-cv-01823-JLR Document 173-3 Filed 02/03/12 Page 13 of 25

5.2.2 Decoder

1) Decoder input stage (receiving data buffer, VLD and DMUX)

—_—s EE i

Memory Size(words) Width(bits) On/Off chip
Receiving data buffer ° 65536 32 Off
Macroblock mode memory 90 4 On
Motion vector memory 360 8+7 On
Q_scale memory * 90 5 On

DCT coef. memory 512 9 On
Addition Width(bits) | Operations/sec
Addition in macroblock addr. DPCM decoder 6 81000(max)
Addition in mation vector DPCM decoder 8 648000(max)
Addition in block DC DPCM decoder 9 324000(max)
Addition in run to position translator 6  20736000(max)

Table Size(words) Width(bits) Fix/Dwn Lookup/sec
VLC decode table 8192 20 Dwn 27xi06

[IAT

1
data in sequence/GOP/picture layer. The macroblock data are

peh mnetaings tha
vil

r, which contains the block DC DPCM decoder and the translator from run to

n. These decoded values are stored into the slice data memory.

detailed block diagram of the VLD and DMUX is shown in Fig.5-21. The
sequencer determines the kind of VLC/FLC to be decoded, by the start code detector
output and the contents/inputs of the register array. This VLD can decode one variable
Jength code per one clock. One variable length code is divided into three parts, namely,
the front zero/one runs and the front_next_code and the Tear_code. The length of zerofone
Tun is detected by the zero/one run detector. This value and the front_next_code are fed
into the VLC decode table. The decoded value for the front_code and the number of bits
for the rear_code are generated by the table. The rear_code is decoded by the rear code
detector. The clock rate is the same as that for the pel rate (27MHz). The timing periods
for decoding the data in the slice/macroblock layer and the sequence/GOP/picture layer

can be maintained by the horizontal and vertical blanking periods.

2) Adaptive predictor

Addition _ Width(bits)  Operations/sec

36

MS-MOTO_752_0001230348
MS-MOTO_1823_00000720868

Case 2:10-cv-01823-JLR Document 173-3 Filed 02/03/12 Page 14 of 25

Addition in field interpolation filter 8 181440000
Addition for frame interpolation mode signal 8 41472000
Addition for bi-directional prediction signal 8 20736000

Figure 5-22 shows a block diagram of the adaptive predictor for the decoder. The
function for this module is the same as that for the adaptive predictor in the encoder.

3) Dequantizer

Addition Width(bits) | Operations/sec
Offset addition 12 20736000
Multiplication Width(bits) | Operations/sec
Q_scale multiplication 5x8 20736000

DCT coeff multiplication 8x12 20736000

Table Size(words) Width(bits) Fix/Dwn Lookup/sec
Quantize table 128 8 Dwn 20736000

This module is the same as that for the encoder.

4) IDCT

Memory Size(words) Width(bits) On/Off chip
Register in 8-point processor 80 16 On
Matrix transposition RAM 64 16 On

Scan conversion RAM 128 16 On
Addition Width(bits) Operations/sec
Addition in 8-point processor 16 165888000
Multiplication Width(bits) Operations/sec

Multiplication in 8-point processor 16 82944000

Table Size(words) Width(bits) Fix/Dwn Lookup/sec

Scan table 256 6 Dw. 20736000

Coef table 4 16+16 Fix 20736000
57

MS-MOTO_752_0001230349
MS-MOTO_1823_00000720869
Case 2:10-cv-01823-JLR Document 173-3 Filed 02/03/12 Page 15 of 25

This module is the same as that for the encoder.

5) Adder for decoded signal

Addition Width(bits) Operations/sec

Addition for decoded signal 8 20736000

6) Decoded field memory with output

Memory Size(words) Width(bits) On/Off chip
Decoded picture memory(Y,C 4 field) 1382400 8 Off

Block line memory(Y,C) 23040 8 On

Figure 5-23 shows a block diagram for the decoded field memory with output.
Decoded B pictures are directly fed into the block line memory, which is used for scan
conversion to output signals. I and P pictures are stored in the decoded picture memory,
and they are used as inputs for both the adaptive predictor and the block line memory.
5.3 Supplemental document in implementation

This is the supplemental document explaining how the numbers in the lists in Section 5.2
are calculated.

5.3.1 Encoder

1) Input field memory

4 pot
3

Input picture memory(Y v4 fields) 691200 =#pel_fieid x 4

Picture delay memory(Y,C 1 fields) 345600 = #pel_field x 2

Block line memory 46080 = #h_field x #v_macro x 4x2
4: Number of block lines
2: Number of block line memories

2) Motion vector estimator 1

Motion vector memory 16200 = #macro_field x 12
12: Number of motion vector memories
rin MVD1
8096 = (#h_macro + 2 x #h_search) x
(#v_macro + 2 x #v_search) x 2x #MVD1
2: Double buffer
#MVD1=4 ‘Number of MVD1s
Distortion register in MVD1

MS-MOTO_752_0001230350
MS-MOTO_1823_00000720870
Case 2:10-cv-01823-JLR Document 173-3 Filed 02/03/12 Page 16 of 25

Register in acc. dist.calc. MVD1
1860 = #search x #MVD1

Subtraction in dist.calc. MVD]
Addition in acc. dist.cale MVD1

16070400000 = #search x #pel_field x #field_sec x #MVD1 x #MD1

act
#MVD1_act = (#MVD1 x #field_gop - (2+2+4+8)) / #MVD1 / #field_gop
: Average operating ratio for MVD 1s
(MVDI1s do not operate all the time.)
Vector addition in MVD
540000 = #macro_field x #field_sec x #MVD1 x #MVDI_act x 2
2: Horizontal and vertical vector

3) Motion vector estimator 2 with adaptive predictor

Search data register in MVD21
3840 = ((#h_macro + 4) x (#v_macro + 4) +
(#h_macro /2 +2) x (#v_macro + 4) x2
)x2x#MVD21
2: Double buffer
#MVD21 = 4: Number of MD2i
Distortion register in MVD21
Register in acc. dist.calc. MVD21
36 = #fsearch_21 x #MVD21

#search_21 = 9: Number of searching points in one MVD21
Search data register in MD22

11928 = ( ((#h_macro + 3) x 2 - 1) x ((#v_macro + 3)x2-1)+ -Y
((#h_macro /2+1)x 2-1) x ((#v_macro +3) x2-1)x2 :Cx2
)x 2x #4MVD22

2: Double buffer
#MYVD22 =4 :-Number of MVD22
Distortion register in MVD22
Register in acc. dist.cale. MYD22
72 = #search_22 x #MVD22
#search_22 = 18 : Number of searching points in one MVD22

Temporary data register
6664 = ( (#h_macro x 2 + 1) x (#v_macro x 2 +1) + Y
(#h_macro /2) x (#v_macra x 2 +1) x 2 Cy?
,Iv HT AS

yx 2x 4T.ds

2: Double buffer

#T.d.r: Number of temporary data registers
Macroblock delay

1024 = #pel_macro x 8

8: two macroblock(Y) and three macroblock(Y,C)

Subtraction in dist.calc. MVD21
Addition in acc. dist.cale MVD2]

373248000 = wsearch_21 x #pel_field x #field_sec x #MVD21

59

MS-MOTO_752_0001230351
MS-MOTO_1823_00000720871
Case 2:10-cv-01823-JLR Document 173-3 Filed 02/03/12 Page 17 of 25

Vector addition in MVD21
648000 = #macro_field x #field_sec x #MVD21 x2
2: Horizontal and vertical vector
Addition in field interpolation filter
440316000 = #a.f.i.f macro x #macro_field x field_sec x #f.1.f

#afif_macro =( (#v_macro + 3) x (#h_macro + 4) + Ver. Y
(#h_macro + 3) x ((#v_macro + 4) x 2-1) + Hor. Y
( #v_macro + 3) x Gth_macro /2 +3) + Ver. C
(#h_macro / 2 + 2) x ((#v_macro + 4) x 2 -1) Hor, C
)x2 ) = 1359

: Addition in one field interpolation filter per macroblock
#£.i.f = 4: Number of field interpolation filter
Subtraction in dist.calc. MYD22
Addition in acc. dist.calc MVD22
746496000 = #search_22 x #pel_field x #field_sec x #MVD22 ,
Subtraction for r2 in MVD22
41472000 = #pel_ field x #field_sec x #MVD22

A ddi dition for frame interpolation mode si signal
41472000 = #pel_field x 2 x #field_sec x 2
2; YandC
2: Forward and backward
Addition for bi-directional prediction signal
20736000 = #pel_field x 2 x #field_sec x 2
2: Y and C
Subtraction in dist.calc.3
Addition in acc. dist.calc 3
20736000 = #pel_field x 2 x #field_sec x 2

2: Two candidates

_ 20736000 = #pel_field x 2 x #field_sec

9.VanAnm
2. € anadvu

6) Activity calculator

a,

ield / #v_macro x 5
5:I, PO, Pl, P2 and B
Addition in block DC calculator
864000 = #pel_field x 2 x #field_sec x 24
1/24: Number of I pictures in GOP |
Addition in slice activity calculator
Addition in picture activity calculator

1800 = #slice_field x #field_sec

C.

<

co,

2 Me

=

a

hen as
“

a

4

oN
©

MS-MOTO_752_0001230352
MS-MOTO_1823_00000720872
Case 2:10-cv-01823-JLR Document 173-3 Filed 02/03/12 Page 18 of 25

7) DCT
Addition in 8-point processor
165888000 = #pel_field x 2 x #field_sec x (3 +2 1/2) x2
3: Number of add. stages in one 8-point processor
2: Number of mult. stages in one 8-point processor
2: Number of 8-point processors

Multiplication in 8-point processor

82944000 = #pel_field x 2 x #field_sec x 4

4: Number of mult. stages in two 8-point processors
Scan table, Coef table

20736000 = #pel_field x 2 x #field_sec

Multiplication in quantizer, Quantize”! table
20736000 = #pel_field x 2 x #field_sec

9) Dequantizer

Offset addition, Q_scale multiplication, DCT coeff multiplication

20736000 = #pel_field x 2 x #field_sec
10) IDCT
same as DCT

11) Adder for local decoded signal

20736000 = #pel_field x 2 x #field_sec
2: Y andC

12) Local decoded field memory

Decoded picture memory(Y,C 4 fields) 1382400 = #pel_field x 2 x 4

Subtraction in macroblock addr. DPCM enc. 81000 = #macro_field x #field_sec

Subtraction in MV DPCMencoder 648000 = #macro_fieldx2x4x #field_sec
2: Horizontal and vertical
4: Four reference fields
Subtraction in block DC DPCM encoder 324000 = #macro_field x 4 x #field_sec
4: Four blocks in one macroblock
VLC table for M.B._address
VLC table for M.B._type

CN
—

MS-MOTO_752_0001230353
MS-MOTO_1823_00000720873
Case 2:10-cv-01823-JLR Document 173-3 Filed 02/03/12 Page 19 of 25

VLC table for C.__B._P.
VLC table for motion vector

81000 = #macro_field x #field_sec
648000 = #macro_field x 2 x 4 x #field_sec

2: Horizontal and vertical
4: Four reference fields
324000 = #macro_field x 4 x #field_sec

4: Four blocks in one macroblock
= #pel_field x 2 x #field_sec

VLC table for det_de_size

5.3.2 Decoder

nr RATTVE

aon oe fo nr or LImIt ~ 7m
1) Receiving data Buiter, VLU and DMLUA

90 = #macro_slice x 2

2: Double buffer ‘
360 = #macro_slice x 4 x 2

4: Four reference fields

2: Double buffer

90 = #macro_slice x 2 .

2: Double buffer

512 = #pel_macro x 2x 2

VarAn
4. % ana

abla fle

: Double buffer

Addition in macroblock addr. DPCM dec. 81000 = #macro_field x #field_sec
Addition in motion vector DPCM dec. 648000 = #macro_field x 2 x 4 x #field_sec

2: Horizontal and vertical
4: Four reference field
Addition in block DC DPCM decoder 324000 =#macro_field x 4 x #field_sec

4: Four blocks in one macroblock
. Addition in ron to position translator 20736000 = = #pel_ field x2x#field 5

Ss pyosse _ Sec
VLC decode table 8192 = 24¢+4+5)
4; Number of bits for VLC code selection

A-WI..--L ae fi
INUMIDET of bits 1UI O/1 Tun number

4:
5: Number of bits for front next_code
20=3+4+14+12

3: Number of bits for front_next_code length
4: Number of bits for rear_code length

1: Escape flag

12: Number of bits for Decode value

Macroblock mode memory

Motion vector memory |

DCT coef. memory

3) Adaptive predictor

Addition in field interpolation filter
181440000 = #a-f.i-f(d)_macro x #macro_field x field_sec x #f.i.f

#a.f.if_macro = (#h_macro + 2) x #v_macro + Ver. Y
#h_macro x #v_macro + Hor. Y
62

MS-MOTO_752_0001230354
MS-MOTO_1823_00000720874
Case 2:10-cv-01823-JLR Document 173-3 Filed 02/03/12

( (#h_macro / 2 +2) x #v_macro + Ver.C
#h_macro / 2 x #v_macro) Hor. C
)x2= 560

: Addition in one field interpolation filter per one macro block
#£.i.f = 4: Number of field interpolation filters
Addition for frame interpolation mode signal
41472000 = #pel_field x 2 x #field_sec x 2
2: Y and C
2: Forward and backward
Addition for bi-directional prediction signal

ac

4) Dequantizer

Same ae the adder far
opame as ine iLL

7) Decoded field memory with output
Decoded picture memory(Y,C 4 field) 1382400 = #pei_fieid x
Block line memory 23040 = #h_field x #v_macro x 2 x2

2: Y andC
2: Double buffer

Page 20 of 25

#pel_field = #h_size x #v_size
#h_field = 720

#v_field = 240

#h_macro = 16

#v_macro = 8

#pel_macro = #h_macro x #v_macro

Hacra field —
WMACTO_111G =

#macro_slice = th fie d 1a/ fhe macro
#slice_field = #v_field / #v_macro

3
|
ten
>
my
~~
3
‘4

goanenk —_ Tf
Trak oval — 1
#V caarch — 7
wy OVaALVEL — &
#search = (1 +

#field_sec = 60
#field_gop = 24

:Number of pels per field (Y or C)
‘Horizontal size of a field memory (Y)
:Vertical size of a field memory (Y or C)
Horizontal size of a macro block (Y)
:Vertical size of a macro block (Y or C)

“Nia mber of nele ner mart hlack cyy
:Number of pels per macro block (Y)

“Niam hee Af marern hlacke ner Gell

sNUM Der Ul LALLY VINO ARS per 410
Number of macro blocks per slice

Number of slices per fie eld

Waetisn nia lcezarech cac’ncn ef N 3 bk AUT
FLU izonta 1 arch region ¢ (+/-) im une Wives.
“Un al naanesh meen fel Vin tha RAVI

. Y erti tical sc. HEAO EIT UTZ) Lab LG IWL ¥ LAL

2 X #h_search) x (1 + 2 X #v_search)

:Number of search points in the MVD1
:Number of fields per sec
:Number of fields per GOP

N
>

MS-MOTO_752_0001230355
MS-MOTO_1823_00000720875
v9

$9

Case 2:10-cv-01823-JLR. Document 173-3 Filed 02/03/12 Page 21 of 25

Input order 12304 5 6 7 8 9 10 11 12 13 M4 15 16:17:18 1 0 21 RBM YB 6 WwW DW 3 23H
Input picture BOs Bla Bla Ba le POs Bb Blb Bb HGb Plb P2b Blc Ble Boe Bac Mc Ple Bod Bld Bld B3d Pod Pld BOs Bla Bla B3a be Aa BOb Bib Bb Bib
Myp Referenced POd Pad Pod Pod ho bo & In b & Pib Plb Pib Pib Pid Plb Me Mc POs Pc Fc Wc POd Pod Id Fd hhh kh
1. Searched Be Bla Ba Boa DO Bib Bab Bob Pib P2y BOc Bic Bas Boc POs Ple BOd Bid Bad Bod F0d Pid BOs Bia Ra Bie Bib Bib Eb Bib
Myp Referenced Pld Pid Pld Pid PQa POs Poo POs POa POs P2b P2b Plb Pab P2b Pb Pic Ple Pie Ple Mc Plc Pid Pid Pld Pld Poe Pla Pla POs
1) Searched —_BOa Bla Bla Boa 0b Bib Ba B3b Plb P2> BOs Bic Hic Boc Mc Plo BOd Bid Bld B3d Pod Pld BO: Bla B2a Bia B0b Blb Bb Bib
Mvp Refereed PPP bh hh bh Plb Pib Plb Pib Plb = Mc Mc Ps He Me = Pd PO FO Pd PO bh hh kh
ic Searched = B2d DE Bld Ba Fa Ba te Bla Bb PI RY BO BY Be Ple Ble Dic Mic BM Pld Bd DBI Ba Fn Ba BOs Bla
Myp Referenced Pld Pid Pid Pla Poa Pa Ps P2b Pb Pa P2b Plc Ple Ple Pic Pid Pid Pid Pid Fe POa Poa Poa
Id Searched Bd Bod Dd Boa Bla BOs Ba 53d Bib BOb Bb Bic Ble Oc Bic Bad Bid Bod B2d Ba Ble Boa Bs
Coding pichwe = Pid Bd Bid Bad Bid Ja POa Boe Bis Ba BGa Pib P2b BOb Rb Bb Kab Plc Plo Blo Blo Ble Bic Pld Pld BOd Bid BY Bid kk POs Bla Bla Bla

Table 5-1 Timing table of motion yector estimator 1

[eugis fh

=

{ T 10]emT}se J0]IaA UOTIOW OF )

(4) sa0uen
SUTT NOOTA

AIOWOZ P[VTI BNduy T-¢ sandTy

oO
‘a
4
3
oo
TI
i 3
Sole
thu OD ct
eee
aeanov
ma _
FE 9
Co EF
E
itt
y
Cua
fo
OG re
a Qo
E *|
i _
lem bee
ag
i

]

( I o3em13S2 10q09A UOTIOW OL )

i eae
tb O & Oo
og
oO o tt
—oqganc
aOde a
Vd
‘ |
= Bh
4% 45°
oe 808
e5p 0 35
ow ww @ ot
e< am agd
86 S88
a @ ct ct
Bo eee
5 g A
we

JojRTNOTeS
AYTATION on]

<—_—

MS-MOTO_752_0001230356

MS-MOTO_1823_00000720876
‘Torin | Hot hear
‘ Input S/S} sad bavd S| MVlfe
t picture 11 JER NYD E KV
penory. {1} ch 1 [7] nenory ae

—. Center
woe e eee nn ee 3 geil. SEL] cmv0 [ siti ]

0 ( Start tor 0 tor 0
i menory. wy 1 sv0 ( Start vector 0 ) fo+ vec’

‘Difference

MS-MOTO_1823_00000720877

MS-MOTO_752_0001230357

by)

id fields) |
r=) Adr. ger. —SEL

La S
—3E
SIL
Yor Fit L
sme, oP ayo LL aw TS ae
penory (Y}: 1 memory L
(1 field) } * ~
5 toa — SEL]
s

Case 2:10-cv-01823-JLR Document 173-3 Filed 02/03/12 Page 22 of 25

x .
~ Baer ea J os
' Input <

' picture oy MyD KY i MY 1bo

memory I

Adr. gen. —TSEL

Figure 5-2 Motion vector estimator 1

66

register

31X15
Distortion
calculator

Distortion

: 4 - rdo ( Reference data 0 ) Pitter
: e Bl .

: oi ute i 2 > HYD | Ww 2 Mito : L

“menory Ws i memory |e} Fy

register

Distortion

conparator

Figure 5-3 HYD1 ( Motion vector detector 1 )

rdQ ( Reference data 0 )

sdQ (Search data 0)

So eS

Absolute

Distortion value

Accusulator >?

Figure 5-4 One of 31X15 Distortion calculators

67
10-cv-01823-JLR Document 173-3 Filed 02/03/12 Page 23 of 25

Case 2

wece rer nny ~

: Picture! —
: dalay {_rdl | Macroblock |_raz
nemory { “L_ delay srd
$e (Yo: acs ee ndy
UVB Field Ls, MYD| mdsiQ.] Temp.
21 filter | |“] 22 menory
f f
{_ davi Lx ny?
ave , a
Wit 945] 3 Dist.
E srd comp. 1
- L oy | ys
MVD[ |.) Field] |.JMVDI- »| Temp.
21 filter | |“] 22 | udsdq “| nenory av k¢
5| _ |
aL +
WWibe 7 Se
iT or Pi ¢—=y es
idecoded! |. [MVD Field] |} MVD Texp.
' picturet 21 filter 2 nesory
{_menory 3 1 x
I
ddr. gen. |
80 or #21 | Te
1 .
° ! decoded | fF] Field MVD
tpieture} 21 filter > 28 av kt
+. HeNOry .; c a ,
L SEL Kp
“ Macroblock
: delay
__ — —>
>[ Feereblock WV data ( To VLC }
_delay
| Hacroblock 5
“L_delay | e Prediction data
Dist. +3 pst | To Subtractor for
av U "
calc. 3 coup. 2 $7 prediction error signal
i Macroblock . a ner for
delay ocal decoded signal

Figure 5-5 Motion vector estisator 2 with adaptive predictor

68

svi (Start vector) fo] covl
1® Center
rdl (Reference data) notion
1 . vector 1
sdl Search 3X3 Distortion |} —-—4 Distortion dav
—> data : | Distortion ; + >
register = calculator register 3] comparator ( Difference
. 1 rotion vector 1)
L :

”

mdsd 1 ( Macroblock delayed search data 1 )

Figure 5-6 MVD21 ( Motion vector detector 21 )

rdl ( Reference data 1 )

sdi ( Search data 1) - Distortion value
——9 | Absolute ty Accumulator J —>

Figure 5-7 One of 3X3 Distortion calculators 1

rd2 ( Reference data )

x2]
srd (Sub reference data)

29 adv

Mininun
, distortion

: - + : value
sd2 Search 3X3 Distortion Distortion >

data i lMstortion : i
register calculator =] register comparator [> >
2 dav2
L_ >
dav mdsd 2 ( Macroblock delayed search data 2 )

Figure 5-8 MYD22 ( Hotion vector detector 22 )

rd2 ro]

sd2 (Search data)

Distortion value
S| x4} Absolute 2] Accu aulator |—>

Figure 5-9 One of 3X3 Distortion calculators 2
69

| Distortion value
4 Absolute | Accumulator }—>

srd2

MS-MOTO_752_0001230358

MS-MOTO_1823_00000720878
O£

Te

Case 2:10-cv-01823-JLR Document 173-3 Filed 02/03/12 Page 24 of 25

ox ee
ay Bits fF,
ou BpOoTUO oe
“3 gaa" |
ee ger a
my
360
tb
eo
3 = i °
s oo
~ sz] [esl
=
a3} is
<r ga
~ 8 aw r
= sae] '—Jo|
a <0
o oD
a og
” " >
° a
> cf 2.
W | > |
=< flat 2 ot.
- Few &® mo
ct Ome | moO 1
< wa OO octrd
9 a o| je<a J
2 ao et] fe eer oO
g SAe) ists Bu
Cc * @ 4 oO Coch
e Ce pe
o —_rs T —<s 0
g¢ om oO
o | ct
“1 g S
a, QO
an aev >—_ 4
toy ct om?
79 ah
oct oct a o _
—-o oO ae mw ot
a _ oO ~aU
g 2 we ger
. . an” med
te org
0 ta 4
acer ou @
. 4
on gH
134 43 9
ae to
a0 7
Re 2S
= -_
2 2
a —
4
Intra/Nonintra Scan
we 24 table
LS
SW
of & v0rd B-point | aie ne ttan Loy & Fore a-point |, Scan fe
RAM processor transposition RAM processor conversion
From Subtractor RAM RAM ( To Quantizer )
—
for prediction
error signal
Figure 5-11 DCT
Output
mn Adder 8 word Multiply 8 word Adder 8 nord , Multiply 8 word Adder 2
stage 1 RAM stage 1 RAW stage 2 RAM “ 2 RAM stage 3
From Coeff. ROU - Fron Coeff. R08

Figure 5-12 8-point processor

MS-MOTO_752_0001230359
MS-MOTO_1823_00000720879
Ww
N
_—
oO
Ww
-N
®
Do
oO
oO
N
a Adder Multiply Adder
: RAM ~ , RAW
3 , Stage a RAW , Stage 2 ; , Stage 3 ;
— ‘ 1 qt qT 1 t ]
N w v
$0 o- o 2 O—O——0-—0- rm £0
TS
Pa - 4. % ms f1
LL v rua
x2 — —o £2
9
5 s— 4 a /\ 0 #3
Mm v
wal —9 0 $10, —/ £4
w
5 S —/ #8
y T3/1 v T1/4 x
& =< £6
oO
& % % —o —o £7
a Oe > a-b a So ba a‘ at*b
oO “sg a
bo a-b 2 atb b oso atb bs b-a
?
oO kTr .
N aq a keosrx+b ksinr«
oc v .
d = xt > .
oO bo a ksinr <— b kcosrx
I
5 Figure 5-13 8-point DCT signal flowgraph
I
oO
a
N
®
Yn” .
©
O

72

Intra/Nonintra (1bit) > Quantize-!
Q@_scale (Sbits) vee
scan address (6bits)
Sign & ey (To VLC and Dequantizer )
det_coeff —_ absolute >
(From DCT } coriversion 125 .
Absolute data ( To Activity calculator }
ae
Figure 5-14 Quantizer
Intra/Nonintra(ibit) —

Scan address (6bits)

Q_scale (Sbits)
Offset (Thits)
dct_coeff

( From Quantizer )

Quantize
Table

—_____ ®]

—_—____ @]

v
Lialt & ( To IDCT )
aH ts signed binary [-—-—>
© : Sonver'sion

Figure 5-15 Dequantizer

MS-MOTO_752_0001230360

MS-MOTO_1823_00000720880
